   Case 1:24-cv-03973-AS         Document 308    Filed 10/16/24   Page 1 of 37




                   UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF NEW YORK




 UNITED STATES OF AMERICA et al.,

                   Plaintiffs,
                                                   Civil No. 1:24–cv–3973-AS
                   v.

LIVE NATION ENTERTAINMENT, INC.,                ORAL ARGUMENT REQUESTED
     and TICKETMASTER L.L.C.,

                  Defendants.




            PLAINTIFFS’ JOINT MEMORANDUM OF LAW IN
          OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
           Case 1:24-cv-03973-AS                          Document 308                    Filed 10/16/24                 Page 2 of 37




                                                       TABLE OF CONTENTS


INTRODUCTION ................................................................................................................................ 1
BACKGROUND .................................................................................................................................. 2
LEGAL STANDARD ........................................................................................................................... 6
ARGUMENT ........................................................................................................................................ 6
   A.      Live Nation Has Engaged in Unlawful Tying, as Alleged in the Complaint........................ 6
      1.       Plaintiffs Plead All the Elements Necessary to State a Tying Claim. ............................... 6
      2. Live Nation Wrongly Seeks to Impose New Elements on Plaintiffs’ Section 1 Tying
      Claim. ............................................................................................................................................. 8
      3. Judicial Estoppel Bars Defendants’ Improper Factual Argument that Promoters (Not
      Artists) Are the Consumers. ....................................................................................................... 11
      4. Regardless, the Complaint’s Allegations that Artists Are the Consumers of the Tying
      Product Are Decisive at this Stage. ............................................................................................ 13
      5.       Plaintiffs’ Complaint States a Tying Claim, Not a Refusal-to-Deal Claim. ................... 14
   B. State Plaintiffs Have Standing to Seek Damages in the Fan-Facing Primary-Ticketing
   Market.............................................................................................................................................. 16
      1.       Plaintiffs’ Direct Purchases from the Violator Establish Their Standing. ...................... 17
      2.       State Plaintiffs Have More than Adequately Pled Causation. ......................................... 18
      3. Even If Consumers’ Injuries Are Downstream from Defendants’ Anticompetitive
      Conduct, They Are Inextricably Intertwined with It. ................................................................ 20
      4. Plaintiffs Are Not Just Efficient Enforcers, But Likely the Only Ones Positioned to
      Obtain Redress for Past Overcharge Injuries. ........................................................................... 23
CONCLUSION ................................................................................................................................... 25




                                                                            i
          Case 1:24-cv-03973-AS                        Document 308                 Filed 10/16/24               Page 3 of 37




                                                 TABLE OF AUTHORITIES

Cases                                                                                                                             Pages(s):

Am. Ad Mgmt., Inc. v. Gen. Tel. Co. of Cal.,
  190 F.3d 1051 (9th Cir 1999)............................................................................................ 18, 19, 23

Anderson News, L.L.C. v. American Media, Inc.
  680 F.3d 162 (2d Cir. 2012) ........................................................................................................... 18

Apple v. Pepper,
  587 U.S. 273 (2019) ...................................................................................................... 1, 17, 22, 24

Ashcroft v. Iqbal,
  556 U.S. 662 (2009) ...................................................................................................................6, 14

Aspen Skiing Co. v. Aspen Highlands Skiing Corp.,
  472 U.S. 585 (1985) ....................................................................................................................... 15

Assoc. Gen Contractors of Calif., Inc. v. Calif. State Council of Carpenters,
  459 U.S. 519 (1983) .................................................................................................................20, 23

Austin v. Town of Farmington,
  826 F.3d 622 (2d Cir. 2016) .......................................................................................................6, 13

Bell Atl. Corp. v. Twombly,
  550 U.S. 544 (2007) ......................................................................................................................... 6

Blue Shield of Virginia v. McCready.
  457 U.S. 465 (1982) .................................................................................................................20, 21

Chase Mfg., Inc. v. Johns Manville Corp.,
  84 F.4th 1157 (10th Cir. 2023) ....................................................................................................... 14

Daniel v. Am. Bd. of Emergency Med.,
  428 F.3d 408 (2d Cir. 2005) .....................................................................................................20, 25

Davitashvili v. Grubhub Inc.,
  2022 WL 958051 (S.D.N.Y. Mar. 30, 2022) .................................................................... 20, 21, 22

De Jesus v. Sears, Roebuck & Co.,
  87 F.3d 65 (2d Cir. 1996) ...........................................................................................................9, 10

Duke Energy Carolinas, LLC v. NTE Carolinas II, LLC,
  111 F.4th 337 (4th Cir. 2004) ......................................................................................................... 14


                                                                       ii
          Case 1:24-cv-03973-AS                        Document 308                 Filed 10/16/24               Page 4 of 37




E & L Consulting, Ltd. v. Doman Indus. Ltd.,
  472 F.3d 23 (2d Cir. 2006) ...........................................................................................................7, 8

Eastman Kodak Co. v. Henry Bath LLC,
  936 F.3d 86 (2d Cir. 2019) ............................................................................................................. 18

Eastman Kodak Co. v. Image Tech. Servs., Inc.,
  504 U.S. 451 (1992) ............................................................................................................ 6, 10, 15

Gatt Commc’ns, Inc. v. PMC Assocs., L.L.C.,
  711 F.3d 68 (2d Cir. 2013) ............................................................................................................. 20

Gelboim v. Bank of Am. Corp.,
  823 F.3d 759 (2d Cir. 2016) ........................................................................................................... 25

Gonzalez v. St. Margaret’s House Hous. Dev. Fund Corp.,
  880 F.2d 1514 (2d Cir. 1989) .......................................................................................................7, 8

Harry v. Total Gas & Power N.A., Inc.,
  889 F.3d 104 (2d Cir. 2018) ........................................................................................................... 21

Heckman v. Live Nation Ent.,
  686 F. Supp. 3d 939 (D.C. Cal. 2023) ........................................................................................... 24

Ill. Brick Co. v. Illinois,
   431 U.S. 720 (1977) ....................................................................................................................... 17

Ill. Tool Works Inc. v. Indep. Ink, Inc.,
   547 U.S. 28 (2006) .....................................................................................................................8, 10

Image Tech. Servs., Inc. v. Eastman Kodak Co.,
  125 F.3d 1195 (9th Cir. 1997) ........................................................................................................ 11

Image Tech. Servs., Inc. v. Eastman Kodak Co.,
  903 F.2d 612 (9th Cir. 1990) .......................................................................................................... 10

In re Aluminum Warehousing Antitrust Litigation,
   833 F.3d 151 (2d Cir. 2016) .....................................................................................................19, 21

In re Amazon.com, Inc. eBook Antitrust Litig.,
   2023 WL6006525 (S.D.N.Y. July 31, 2023) ................................................................................. 17

In re DDAVP Direct Purchaser Antitrust Litig.,
   585 F.3d 677 (2d Cir. 2009) .....................................................................................................20, 24



                                                                      iii
          Case 1:24-cv-03973-AS                        Document 308                 Filed 10/16/24               Page 5 of 37




In re Elevator Antitrust Litig.,
   502 F.3d 47 (2d Cir. 2007) ............................................................................................................. 15

In re Google Digital Advert. Antitrust Litig.,
   627 F. Supp. 3d 346 (S.D.N.Y. 2022) ............................................................................................ 14

In re Google Play Store Antitrust Litig.,
   2024 WL 4438249 (N.D. Cal. Oct. 7, 2024) .................................................................... 11, 14, 16

In re Keurig Mountain Single-Serve Coffee Antitrust Litig.,
   383 F. Supp. 3d 187 (S.D.N.Y. 2019) ......................................................................................18, 22

In re Platinum and Palladium Antitrust Litig.,
   61 F. 4th 242 (2d Cir. 2023) ........................................................................................................... 23

Intellivision v. Microsoft Corp.,
   484 F. App’x 616 (2d Cir. 2012) .................................................................................................... 12

It’s My Party, Inc. v. Live Nation, Inc.,
   811 F.3d 676 (4th Cir. 2016) .......................................................................................................... 12

It's My Party, Inc. v. Live Nation, Inc.,
   88 F. Supp. 3d 475 (D. Md. 2015) ................................................................................................. 12

Jefferson Parish Hosp. Dist. No. 2 v. Hyde,
  466 U.S. 2 (1984) .........................................................................................................................8, 9

New Hampshire v. Maine,
  532 U.S. 742 (2001) ....................................................................................................................... 13

New York v. Facebook, Inc.
  549 F. Supp. 3d 6 (D.D.C. 2021) ................................................................................................... 15

New York v. Meta Platforms,
  66 F.4th 288 (D.C. Cir. 2023) ........................................................................................................ 15

Ocean View Cap., Inc. v. Sumitomo Corp of Am.,
  1999 WL 1201701 (S.D.N.Y. Dec. 15, 1999) ............................................................................... 19

Serpa Corp. v. McWane, Inc.,
  199 F.3d 6 (1st Cir. 1999)............................................................................................................... 23

Verizon Commc’ns Inc. v. L. Offs. of Curtis v. Trinko, LLP,
  540 U.S. 398 (2004) .................................................................................................................15, 16



                                                                       iv
          Case 1:24-cv-03973-AS                          Document 308                  Filed 10/16/24                Page 6 of 37




Viamedia, Inc. v. Comcast Corp.,
  951 F.3d 429 (7th Cir. 2020) ............................................................................................................ 9

Statutes

15 U.S.C. § 15c ................................................................................................................................... 24

Sherman Act Section 1, 15 U.S.C. § 1 ...................................................................................... passim

Sherman Act Section 2, 15 U.S.C. § 2 ..................................................................................... 1, 6, 14




                                                                         v
       Case 1:24-cv-03973-AS           Document 308         Filed 10/16/24         Page 7 of 37




                                         INTRODUCTION

       The Amended Complaint (“Complaint” or “Compl.”) pleads five claims under federal

antitrust law (Claims 1–5), as well as thirty-four claims arising under state law (Claims 6–39),

and lays out in detail the pervasive and sprawling nature of Defendants’ anticompetitive conduct

in the live music industry. Defendants’ motion to dismiss does not seek to dismiss the entirety, or

even the majority, of the well-pleaded allegations and claims. Instead, Defendants’ motion seeks

two narrow forms of relief: first, dismissal of Plaintiffs’ unlawful tying claim (Claim 3), and

second, dismissal of the State Plaintiffs’ federal damages claims brought on their residents’

behalf. Defendants’ narrow motion implicitly acknowledges that Plaintiffs’ Complaint marshals

sufficient facts to support numerous and significant claims of illegal conduct, and even the

limited arguments Defendants advance in their partial motion to dismiss fail as a matter of law.

       First, Plaintiffs have plausibly alleged a Sherman Act Section 1 tying claim. See Compl.

Claim 3. The Complaint alleges that Live Nation uses its dominance over large amphitheaters to

coerce artists into purchasing the tied product, Live Nation’s promotion services. Instead of

focusing on whether Plaintiffs have sufficiently alleged facts supporting that Section 1 claim,

Defendants try to recast it as a flawed Section 2 refusal-to-deal claim. Their attempt ignores the

actual elements of a Section 1 tying claim. And not only do Plaintiffs’ well-pleaded allegations

defeat Defendants’ tortured construction of a Section 1 tying claim, but Defendants’ factual

position in prior litigation contradicts the one they seek to take in this case.

       Second, twenty-seven plaintiffs (collectively, “State Plaintiffs,” see Ex. A at n.3 for full

list) have antitrust standing to seek federal damages in their parens patriae capacity on behalf of

their residents. State Plaintiffs sufficiently allege that Defendants have unlawfully maintained a

monopoly in the fan-facing primary ticketing market and that fans suffered injury from that

unlawful monopoly. Apple v. Pepper, 587 U.S. 273 (2019)—the controlling case Defendants do
                                                   1
       Case 1:24-cv-03973-AS           Document 308         Filed 10/16/24      Page 8 of 37




not address—requires no more. Even if Pepper does not resolve the standing inquiry, State

Plaintiffs have properly pled direct causation, or at least have alleged injuries inextricably linked

to Defendants’ conduct, and they are efficient enforcers for federal damages claims.

       Plaintiffs respectfully request that the Court deny Defendants’ motion in its entirety.

                                         BACKGROUND

       The Complaint alleges the following facts relevant to Defendants’ motion, which are

taken as true and viewed in the light most favorable to Plaintiffs for purposes of that motion:

       A.      Live Nation Conditions Artists’ Use of Large Amphitheaters on Their
               Agreement to Use its Promotions Services.

       Live Nation, which owns or controls over 60% of the large amphitheaters in the United

States and more than 60 of the top 100 amphitheaters, has monopoly power over the use of large

amphitheaters. Compl., ECF No. 257 ¶¶ 16, 30, 213–214. Live Nation has a longstanding policy

that, if artists want access to a Live Nation venue (whether an amphitheater or otherwise), they

almost always must also contract with Live Nation to serve as their artist’s concert promoter. Id.

¶ 113. Live Nation wields its monopoly power over large amphitheaters, together with that

policy, to coerce artists into choosing Live Nation as their promoter. See, e.g., id. ¶¶ 6(g), 16, 41,

69, 113–116, 149, 201, 244.

       Many artists give in to Live Nation’s demand out of fear of losing revenue and the

opportunity to reach more fans. See id. ¶¶ 6(g), 113–116, 201, 245. Large amphitheaters differ

from other types of concert venues, since they are outdoor venues that generally offer more

seating than clubs and theaters. Id. ¶ 29. These venues are attractive to artists who want to

perform outdoors and are especially important for artists who have graduated from playing

smaller clubs and theaters but are not yet (or no longer) able to fill larger venues. Id. ¶¶ 29, 207.

       It is the artist (not the artist’s promoter) who makes the ultimate decision whether to


                                                  2
       Case 1:24-cv-03973-AS          Document 308         Filed 10/16/24      Page 9 of 37




perform in amphitheaters and, if so, in which ones and on what terms. Id. ¶¶ 25, 208. Artists pay

rent to the amphitheater and perform shows that enable it to collect additional revenue from fans,

including food, beverage, and parking revenue. Id. ¶ 207; see also id. ¶ 19. In exchange, the

amphitheater makes its venue available to artists and provides on-site services like staging and

lighting. Id. While some artists use their agents to communicate directly with venues, others use

their promoters to inquire about the availability and pricing of an amphitheater for a particular

day, id. ¶ 208, much like a real estate broker or other sales representative would do for a client.

       To avoid being locked out of some of the most popular and largest amphitheaters, artists

must hire Live Nation as their promoter. Id. ¶¶ 30, 59, 113–114, 201. The alternative—skipping

Live Nation-controlled amphitheaters—would mean fewer shows, lower compensation, and

reduced access to fans. Id. ¶¶ 149, 210. As a result, artists who would prefer a promoter other

than Live Nation are effectively denied that choice. See, e.g., id. ¶¶ 59, 113–114, 150, 201, 246.

       Live Nation knowingly wields its market power, combined with its exclusionary

amphitheater policy, to force artists to sign with Live Nation for promotion services. See, e.g., id.

¶¶ 210, 212. As one Live Nation executive admitted: “If [artists] want to do an extensive

amphitheater tour with a lot of shows, they would typically be coming to us for that, and they

do.” Id. ¶ 114. Another Live Nation promotions executive directed his employees not to offer

increased payment guarantees to artists who are looking for “True Amp Tours,” meaning all

amphitheaters, not just Live Nation-controlled venues. Id. ¶ 116; see also id. ¶¶ 129–130. Live

Nation’s promotions team offers lower guarantees because they know artists need to play shows

at Live Nation amphitheaters and therefore must use Live Nation as their promoter. Id. ¶ 116.

       Live Nation’s conduct locks in artists and expands its dominance in promotions, even at

the cost of additional profits Live Nation could earn by opening its amphitheaters to artists who



                                                  3
      Case 1:24-cv-03973-AS           Document 308        Filed 10/16/24       Page 10 of 37




choose another promoter. Id. ¶¶ 115–116. Live Nation’s decision to sacrifice short-term profits

and reduce output to keep artists who choose a third-party promotor out of its amphitheaters

demonstrates the anticompetitive goals and effects of its business practices. See id.

       B. Defendants Harm Consumers Directly, Causing Fans to Pay Higher Prices and
          Receive Lower Quality Services Than They Would Absent Defendants’ Conduct.

       Fans—the residents on behalf of whom Plaintiff States seek parens patriae damages—

purchase concert tickets directly from Ticketmaster. Defendants’ anticompetitive conduct distorts

the market, causing fans to pay more for concert tickets and have a worse quality ticketing

experience than in a market free from Defendants’ unlawful conduct. Id. ¶¶ 45, 139–158, 223.

       Defendants start the causation chain by making upfront payments to venues for primary-

ticketing exclusivity, which are in venues’ interest to accept. Id. ¶ 64. Defendants can pay

significantly more than rivals for exclusivity, because they know that they can recoup the up-

front payments by passing costs onto fans through higher and higher fees and face values. Id.

¶¶ 42, 64, 139–154, 175–190. Ticketmaster has significant involvement in setting the numerous

fees that consumers pay—including so-called service fees, dynamic pricing fees, per order fees,

and payment processing fees, as well as upsells and insurance. Id. ¶ 44. Ticketmaster also

recommends ticket prices and sometimes adjusts the face value of tickets based on demand. Id. at

¶ 45. Live Nation’s promotions and sponsorship businesses and its venue ownership allow it to

routinely double dip into the pockets of fans, venues, and artists. Id. ¶¶ 51, 142, 149. In the but-

for world, competition in the sale of primary ticketing to fans would drive live-concert

attendance costs down, and venues would pass lower costs through to consumers’ benefit,

because, among other reasons, venues compete for fans’ business. Id. ¶¶ 25, 142–146.

       Fans have no reasonable alternatives once Defendants elect to extract monopoly rents at

the ticket-purchase stage. Compl. ¶¶ 142, 167, 175. Even if fans pushed venues to self-supply


                                                  4
      Case 1:24-cv-03973-AS           Document 308        Filed 10/16/24      Page 11 of 37




(i.e., handle ticketing themselves), very few venues would be willing to take the risk given the

significant investment and technology required to create and operate a ticketing platform. Id. The

secondary ticketing market is also not a viable alternative for venues because it is a resale market

that is functionally different from the primary market. Id. ¶ 167. Fans are thus left with a no-win

situation: they can either pay Ticketmaster-imposed fees to see their favorite artists or forgo

seeing their favorite artists live. Id. ¶¶ 145, 150. Unsurprisingly, fans pay more in fees associated

with concert tickets in the United States than in other parts of the world. Id. ¶¶ 38, 105, 107.

       Defendants complement their long-term exclusive contracts with threats and retaliation to

prevent venues from working with competing ticketing companies, which could lower ticket

prices and fees and create a better fan experience. Id. ¶¶ 88–98, 193–194. These are not empty

threats. Live Nation has acted on its threats to venues that dared select another ticketer (including

by rerouting Live Nation concerts, demanding the disabling of secondary ticketing for Live

Nation content, and demanding the removal of fan-friendly features on other ticketing platforms

for Live Nation content), and its reputation is well known in the industry. Id. ¶¶ 88–98. So great

is venues’ fear of losing content that they have sought “make good” or “lost event guarantee”

clauses in their ticketing contracts to even consider moving away from Ticketmaster. Id. ¶¶ 96,

152. Major concert venues “rely on live entertainment for a significant portion of their

revenues,” and with Live Nation’s record of rerouting shows away from venues that push back

against its monopoly, the risks far outweigh the potential reward. Id. ¶¶ 88–98, 193–194.

       Consumers will not discipline Defendants’ fees and ticket prices by switching to other

ticketers, not only because Defendants prevent venues from offering ticketing alternatives, but

because fans value content. See id. ¶¶ 98–112. Without access to Ticketmaster-contracted venues’

artist catalogue, consumers cannot reasonably support venues’ efforts to use other ticketers, who



                                                  5
      Case 1:24-cv-03973-AS            Document 308         Filed 10/16/24       Page 12 of 37




may offer a better fan experience but would be unable to offer the live acts fans want. See id.

¶ 144. Thus, Defendants’ control of the primary ticketing market enables them to reduce

competition and subject consumers to higher prices and lower quality. Id. ¶¶ 139–158.

                                        LEGAL STANDARD

        To defeat a motion to dismiss, a complaint need only include “sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). Courts

must “accept all factual allegations as true, and draw all reasonable inferences in the plaintiff’s

favor.” Austin v. Town of Farmington, 826 F.3d 622, 625 (2d Cir. 2016).

                                            ARGUMENT

        A.      Live Nation Has Engaged in Unlawful Tying, as Alleged in the Complaint.

        Plaintiffs allege that Live Nation is engaged in textbook unlawful tying, coercing artists

to use its promotion services to access its amphitheaters. Defendants’ motion to dismiss

Plaintiffs’ tying claim attempts to impose elements that the law does not require. Defendants also

try to recast Plaintiffs’ well-pleaded Section 1 tying claim into a Section 2 refusal-to-deal claim

by distorting the allegations to argue that the real “buyer” of amphitheater services is the

promoter, not the artist. Both arguments are contrary to the law and the facts as alleged.

                    1. Plaintiffs Plead All the Elements Necessary to State a Tying Claim.

        The Complaint’s allegations meet the standard for pleading a Section 1 tying claim. “A

tying arrangement is an agreement by a party to sell one product but only on the condition that

the buyer also purchases a different (or tied) product, or at least agrees that he will not purchase

that product from any other supplier.” Eastman Kodak Co. v. Image Tech. Servs., Inc., 504 U.S.

451, 461 (1992) (quotations omitted). In this Circuit, a plaintiff must allege five elements: “first,

a tying and a tied product; second, evidence of actual coercion by the seller that forced the buyer

                                                   6
      Case 1:24-cv-03973-AS           Document 308         Filed 10/16/24      Page 13 of 37




to accept the tied product; third, sufficient economic power in the tying product market to coerce

purchaser acceptance of the tied product; fourth, anticompetitive effects in the tied market; and

fifth, the involvement of a ‘not insubstantial’ amount of interstate commerce in the ‘tied’

market.” Gonzalez v. St. Margaret’s House Hous. Dev. Fund Corp., 880 F.2d 1514, 1516–17 (2d

Cir. 1989); accord E & L Consulting, Ltd. v. Doman Indus. Ltd., 472 F.3d 23, 31 (2d Cir. 2006).

       The Complaint plausibly alleges all five necessary elements. First, the “tying” product is

the provision of the use of large amphitheaters and ancillary services to artists for large

amphitheater tours. Compl. ¶ 242; see also id. ¶ 207. The “tied” product is the “provision of

promotion services to artists performing in major concert venues” and is separate from the tying

product. Id. ¶¶ 243–244. And artists are the consumer for both. Id. ¶¶ 207, 242–43; see also id.

25–27, 29, 41, 59, 113–116, 149, 161, 200–201, 208–210, 244. Second, Live Nation coerces

artists into using Live Nation’s promotional services because Live Nation categorically prohibits

artists who use a third-party promoter from playing in its amphitheaters despite artists’ desire to

purchase promotion services separately from amphitheater access. See id. ¶¶ 6(g), 16, 29–30, 41,

59, 69, 113–116, 138, 149–150, 201, 244–246. Third, Live Nation has sufficient market power

over the tying product (large amphitheaters) to coerce artists into purchasing the tied product

(promotion services) because Live Nation is a monopolist in the market for the provision of the

use of large amphitheaters to artists. See id. ¶¶ 242–243; see also id. ¶¶ 6(g), 16, 25, 30, 41, 59,

69, 113–116, 129–130, 138, 149–150, 201, 210–214, 244–246. Indeed, artists who wish to play a

large-amphitheater tour have no real choice but to perform at Live Nation-controlled

amphitheaters. See, e.g., id. ¶¶ 6(g), 16, 30, 41, 59, 69, 113–116, 149–150, 201, 213–214, 246.

Fourth, there are anticompetitive effects in the tied market, notably the lack of choice for artists

to select their preferred promoter, reduced artist compensation, and less access to fans. See id.



                                                  7
      Case 1:24-cv-03973-AS           Document 308         Filed 10/16/24      Page 14 of 37




¶¶ 113–114, 116, 144, 149–150, 201, 209, 212, 245–246. Fifth, Live Nation’s conduct involves a

not insubstantial amount of interstate commerce. See id. ¶¶ 221–222.

       As in Jefferson Parish Hospital District No. 2 v. Hyde, “the essential characteristic of

[the] invalid tying arrangement lies in the seller’s exploitation of its control over the tying

product to force the buyer into the purchase of a tied product that the buyer either did not want at

all, or might have preferred to purchase elsewhere on different terms.” 466 U.S. 2, 12 (1984),

abrogated on other grounds by Ill. Tool Works Inc. v. Indep. Ink, Inc., 547 U.S. 28 (2006). In

short, Live Nation exploits its control over large amphitheaters to force artists to choose its

promotion services—even though, as alleged in the Complaint, artists would often prefer a

different promoter. See, e.g., Compl. ¶¶ 59, 113–114, 150, 201, 246. The Complaint thus alleges

a classic tying claim.

                   2. Live Nation Wrongly Seeks to Impose New Elements on Plaintiffs’
                      Section 1 Tying Claim.

       Defendants do not dispute that Plaintiffs have sufficiently alleged all five elements of a

tying claim under Gonzalez, 880 F.2d at 1516-17, and E & L, 472 F.3d at 31. Rather, they conjure

additional elements for a “genuine” tying claim based on a formalistic test no court has ever

adopted. They argue that Plaintiffs must allege there are “consumers—artists—who (a) wish to

acquire the tying product (amphitheater access) directly from one firm and the tied product

(promotional services) from a second firm, (b) seek to enter into contracts with Live Nation for

the amphitheater access alone, and (c) are presented with terms obligating the purchase of the

tied product from the seller of the tying product, rather than from a third-party seller.” MTD 14

(emphases added); see also MTD Ex. 2. But these are not the elements of a tying claim. See E &

L, 472 F.3d at 31 (setting forth test); Gonzalez, 880 F.2d at 1516–17 (same).

       Other courts have rejected arguments by defendants seeking to impose a requirement that


                                                  8
      Case 1:24-cv-03973-AS           Document 308          Filed 10/16/24     Page 15 of 37




a consumer must “directly” acquire the tying product from the seller. As the Seventh Circuit

explained in Viamedia, Inc. v. Comcast Corp., “fundamentally, a tying claim does not fail as a

matter of law simply because it was implemented by refusing to deal with an intermediary.” 951

F.3d 429, 472 (7th Cir. 2020). There, Viamedia—which represented cable television providers

(MVPDs), providing them various “ad rep services”—alleged that Comcast (its ad rep services

rival) required MVPDs to hire Comcast as their ad rep if they wanted access to Comcast’s

“Interconnect” ad sales platform. Id. at 437, 466. MVPDs were the entities seeking Interconnect

access, but Viamedia was “the MVPD’s agent for Interconnect access.” Id. at 472. The Seventh

Circuit rejected Comcast’s formalistic analysis, stating:

           The fact that the arrangements were structured so that ownership of the slot
           avails passed from the MVPDs to Viamedia does not affect this analysis. In
           applying the antitrust laws, we care more about economic substance than
           about form.

Id. at 470; see also id. at 472; Jefferson Parish, 466 U.S. at 22–23, 28 n.4 (patients are the

consumers for use of hospital operating rooms and anesthesiology services even if they do not

choose or directly pay the anesthesiologist). The same is true here: the fact that artists use

promoters as their intermediaries to purchase the use of amphitheaters does not change the

analysis of the “economic substance” of these transactions. Viamedia, 951 F.3d at 470.

       Defendants incorrectly cite De Jesus v. Sears, Roebuck & Co., 87 F.3d 65 (2d Cir. 1996),

for the proposition that the two products must “be purchased by the same individual.” See MTD

14. But that decision had nothing to do with whether the “same individual” was purchasing the

tied and tying products, and instead turned on whether a product was being sold at all. See De

Jesus, 87 F.3d at 71 (holding plaintiffs’ employment was not plausibly a “product” that they were

purchasing from their employer, and the employer’s internal employee database was not a

“product”). Moreover, rather than adopt the novel legal standard Defendants advance today, De


                                                  9
      Case 1:24-cv-03973-AS           Document 308        Filed 10/16/24      Page 16 of 37




Jesus, in fact, reaffirmed the same five elements of a tying claim described in Gonzalez. See De

Jesus, 87 F.3d at 70. Defendants’ citation to Illinois Tool Works is equally flawed. The identity of

the buyer of the tied and tying products was not at issue. Rather, the Court examined whether a

patent “necessarily confers market power,” and if the defendant had that power. 547 U.S. at 45–

46. Neither of these points is at issue here.

       By contrast, the tying claim alleged here is near-identical in form to that upheld in

Eastman Kodak. There, independent service organizations (“ISOs”) who repaired Kodak

machines alleged that Kodak tied the sale of repair services for its machines to the sale of

replacement parts, and limited ISOs’ access to replacement parts. See 504 U.S. at 458–59.

Consumers included government agencies, banks, and others who needed their Kodak machines

serviced, many of whom preferred to purchase those services and replacement parts from ISOs

instead of Kodak. Id. at 457–58; see also Image Tech. Servs., Inc. v. Eastman Kodak Co., 903

F.2d 612, 614 (9th Cir. 1990) (policy at issue was “not selling replacement parts to ISOs or to

customers who use ISOs”). In other words, the ISOs sought to obtain replacement parts from

Kodak on behalf of their customers, just as promoters purchase access to amphitheaters on behalf

of artists. The Supreme Court held that the ISOs had “presented sufficient evidence of a tie

between service and parts” because the record indicated that Kodak would “sell parts to third

parties only if they agreed not to buy service from [ISOs].” Eastman Kodak, 504 U.S. at 463. In

other words, the use of an intermediary does not alter who is the actual customer.

       Defendants claim that this “same reasoning did not apply to Kodak’s policy of not selling

parts to the rival service organizations, which was analyzed as a refusal to deal.” MTD 14. But

the Ninth Circuit decision that Defendants cite for that proposition is a later appeal in which

Section 1 tying claims were no longer at issue. Id. at 15 (citing Image Tech. Servs., Inc. v.



                                                 10
      Case 1:24-cv-03973-AS            Document 308         Filed 10/16/24      Page 17 of 37




Eastman Kodak Co., 125 F.3d 1195, 1201 (9th Cir. 1997)). Another court recently rejected a

similar argument, explaining: “[t]he circuit’s reasoning in Kodak had nothing to do with Kodak’s

freedom not to deal with its rivals.” In re Google Play Store Antitrust Litig., 2024 WL 4438249,

at *9 (N.D. Cal. Oct. 7, 2024). Defendants’ arguments here should be similarly rejected.

                    3. Judicial Estoppel Bars Defendants’ Improper Factual Argument that
                       Promoters (Not Artists) Are the Consumers.

        The crux of Defendants’ motion is not a legal question so much as a factual argument

(which is improper for a motion to dismiss) that promoters, rather than artists, are the consumers

of amphitheater access. See MTD 16. Judicial estoppel bars Live Nation’s argument because it is

directly contrary to Live Nation’s factual position that a court adopted in a prior case.

        In It’s My Party v. Live Nation (“IMP”), Live Nation embraced the position—even

making it a section heading in its appellate brief—that “The Artist Is the Consumer of . . . Venue

Services.” Br. of Live Nation, IMP, No. 15-1278 (4th Cir. Aug. 19, 2015), ECF 66, at 8, attached

as Ex. B. Summarizing the record in IMP, Live Nation told the Fourth Circuit, “For purposes of

this case, there is no dispute that ‘[t]he relevant competition . . . is competition either among

venues or among promoters for the patronage of artists.’” Id. (citations omitted). Indeed, Live

Nation argued in the district court that “everyone in the industry . . . agree[s] that the artist and/or

their management and agent teams always retain control over which venues to play.” Live

Nation’s Mot. for Summary Judgment, 1:09-cv-00547 (D. Md. Oct. 15, 2011), ECF 85, at 28,

attached as Ex. C. Live Nation acknowledged that the “artist is the decision-maker” because

artists decide “when they want to tour, what type of venues feel appropriate for the type of tour

they are doing, the length of the tour, and . . . how much money they hope to earn.” Id. at 9–10;

see also id. 13–14, 31, 35, 40 (stating that artists “seek” venue services, that “tour routing cannot

be set without the artist’s approval,” that “some artists explicitly tell the promoter what venues


                                                  11
      Case 1:24-cv-03973-AS            Document 308         Filed 10/16/24       Page 18 of 37




are on and off the table,” that “artists routinely place conditions on the cities and venues where

they will play (or will refuse to play),” and that artists and Live Nation engage in “arms-length

negotiations” for venue services and thus there was no coercion). And Live Nation succeeded,

through a final judgment affirmed on appeal, in its position that artists, rather than promoters,

were the consumers of its venues: “This case involves two separate but related markets: the

market for concert promotion and the market for concert venues. In both, the relevant consumers

are performing artists, who contract with promoters and venues to put on concerts.” It’s My

Party, Inc. v. Live Nation, Inc., 811 F.3d 676, 681 (4th Cir. 2016) (emphasis added).

        The doctrine of judicial estoppel thus precludes Live Nation from taking a different,

clearly inconsistent factual position in this litigation. See, e.g., Intellivision v. Microsoft Corp.,

484 F. App’x 616, 620–21 (2d Cir. 2012) (summary order) (“Judicial estoppel prevents a party

from asserting a factual position clearly inconsistent with a position previously advanced by that

party and adopted by the court in some manner.” (quotations and citation omitted)).

        Defendants omit any discussion of their factual positions to the court in IMP. Rather, they

argue that the IMP district court concluded that “near carbon-copy allegations that Live Nation’s

venue and promotion services are tied” should be considered as a refusal-to-deal claim. MTD 13.

That is also incorrect for many reasons, including that the alleged tie in IMP was different from

the one alleged here, and the Complaint’s allegations go well beyond those in IMP. Moreover,

the district court in IMP denied Live Nation’s motion to dismiss the plaintiffs’ Section 1 tying

claims. 88 F. Supp. 3d 475, 482 (D. Md. 2015). Although the court ultimately found in Live

Nation’s favor on the Section 1 tying claim on summary judgment after expert discovery, its

ruling on that claim was based on its appraisal of distinguishable evidence at odds with the

Complaint’s allegations here, rather than refusal-to-deal caselaw. See id. at 489–98.



                                                   12
      Case 1:24-cv-03973-AS           Document 308         Filed 10/16/24      Page 19 of 37




       Defendants should not be allowed to change factual positions in this case. “Having

convinced th[e]” IMP “Court to accept one interpretation of” the consumer for amphitheaters

(artists), “and having benefited from that interpretation,” Defendants “now urge[] an inconsistent

interpretation.” New Hampshire v. Maine, 532 U.S. 742, 755 (2001). But “judicial estoppel

prevents parties from playing fast and loose with the courts.” Id. at 750 (cleaned up).

                   4. Regardless, the Complaint’s Allegations that Artists Are the Consumers of
                      the Tying Product Are Decisive at this Stage.

       In any event, the Complaint squarely alleges that artists (not promoters) are consumers of

the tying product. See, e.g., Compl. ¶ 208. When a promoter signs a rental contract with a venue,

it does so as the agent/delegate of a specific artist who pays rent to the amphitheater and

performs a show that enables the venue to collect additional revenue from fans. Id. ¶¶ 207–208.

Amphitheaters provide artists the use of their venue in addition to services, like staging and

lighting. Id. ¶¶ 26, 207. “Put another way, when promoters communicate and contract directly

with venues, they are acting on behalf of their artist clients. Those artists are the customers for

the provision of use of large amphitheaters who ultimately decide where, when, and under what

terms they will perform.” Id. ¶ 208; see also id. ¶¶ 25–26, 29, 59, 113–116, 149, 161, 201, 207–

210, 242–244. Not only does proof of these allegations ultimately defeat Defendants’ claims on

the merits, but at a minimum, Defendants cannot meet the high standard for dismissal now

because Plaintiffs’ factual allegations must be accepted as true. See Austin, 826 F.3d at 625.

       Defendants attempt to muddy Plaintiffs’ factual allegations by conflating the distinct

services that promoters provide to artists versus those that they provide to venues. Defendants

claim incorrectly that the “tied” product market at issue is the “provision of concert booking and

promotion services to major concert venues.” MTD 4 (emphasis added). But Plaintiffs allege that

concert promoters offer distinct services to two distinct sets of customers: (1) artists, and (2)


                                                  13
      Case 1:24-cv-03973-AS            Document 308         Filed 10/16/24      Page 20 of 37




major concert venues. Compl. ¶ 161, 191. These services constitute two separate and distinct

relevant markets. Compare id. ¶¶ 41, 200 (promotions services to artists), with id. ¶¶ 42, 192

(promotions services to major concert venues; promoters’ revenue for these services generally

not split with artist); see also id. ¶ 40, 161, 191. Here, the “tied” product in Plaintiffs’ tying claim

is the bundle of services that promoters provide to artists, not to venues. Id. ¶¶ 243–244; see also

id. ¶ 161. Defendants’ factual disputes about the relationships between promoters, artists, and

amphitheaters are not properly the subject of a motion to dismiss. See Iqbal, 556 U.S. at 678.

                    5. Plaintiffs’ Complaint States a Tying Claim, Not a Refusal-to-Deal Claim.

        As discussed above, Claim 3 alleges a Section 1 tying claim. “[T]his is not a case in

which a refusal to deal with a rival [is] the basis of Section 2 liability.” Google Play, 2024 WL

4438249, at *8; see also In re Google Digital Advert. Antitrust Litig., 627 F. Supp. 3d 346, 367

(S.D.N.Y. 2022) (analyzing Section 1 tying claim under that framework, not refusal-to-deal).

Nevertheless, Defendants attempt to turn Plaintiffs’ well-pleaded Section 1 tying claim into a

Section 2 refusal-to-deal claim based primarily on the fact that a promoter (i.e., a rival) may be

the contract signatory setting the terms for a particular artist to perform at an amphitheater. See

MTD 8–11. In making that argument, Defendants ignore Plaintiffs’ actual allegations to try to

shoehorn the Complaint into the narrow subcategory of refusal-to-deal conduct.

        Those efforts are contrary to the law. Section 2 of the Sherman Act prohibits

monopolization, attempts to monopolize, and conspiracy to monopolize. 15 U.S.C. § 2. Refusals

to deal are a narrow, “court-made subcategor[y] of [anticompetitive] conduct” under Section 2.

Duke Energy Carolinas, LLC v. NTE Carolinas II, LLC, 111 F.4th 337, 354 (4th Cir. 2024).

Courts limit the doctrine to cases where a defendant refuses to deal with rivals—as Defendants’

cited cases recognize. See MTD 8–12 (citing cases); cf., e.g., Chase Mfg., Inc. v. Johns Manville

Corp., 84 F.4th 1157, 1173 (10th Cir. 2023) (Often, “a refusal-to-deal framework applies to
                                                  14
      Case 1:24-cv-03973-AS           Document 308         Filed 10/16/24      Page 21 of 37




narrow situations often remedied by monopolists sharing their technology with rivals.”).

       Conduct that “interferes with the relationship between rivals and third parties,” as

Defendants’ conduct does here, is not “a standard refusal to deal.” New York v. Facebook, Inc.

549 F. Supp. 3d 6, 31–32 (D.D.C. 2021); see also Kodak, 504 U.S. at 463 n.8 (Kodak’s “alleged

sale of parts to third parties on condition that they buy service from Kodak is not” a “unilateral

refusal to deal”); New York v. Meta Platforms, 66 F.4th 288, 303–04 (D.C. Cir. 2023) (analyzing

policy that apps “may not integrate, link to . . . or redirect to any app on any other competing

social platform” as exclusive dealing—not as a refusal-to-deal—because alleged harm restricted

third parties in dealings with others). Here, Plaintiffs’ tying claim is based on allegations that

Live Nation’s anticompetitive conduct interferes with the choices of Live Nation’s artist

customers—not with Live Nation’s promoter rivals. See, e.g., Compl. ¶¶ 6, 113–116, 149, 201,

208. Further, as discussed above at 13–14, Plaintiffs allege that when a promoter signs a rental

contract with a venue, it does so as a delegate of a particular artist. None of Live Nation’s cases

involves factual allegations that a rival was simply serving as an intermediary on behalf of a

particular, individual customer. See MTD 15–16 (citing, inter alia, e.g., Verizon Commc’ns Inc.

v. L. Offs. of Curtis V. Trinko, LLP, 540 U.S. 398, 404–05 (2004); Aspen Skiing Co. v. Aspen

Highlands Skiing Corp., 472 U.S. 585, 595 (1985); In re Elevator Antitrust Litig., 502 F.3d 47,

52 (2d Cir. 2007)).

       Finally, Defendants rely on Trinko1 to argue that a parade of horribles would follow if

Plaintiffs’ tying claim were to survive, suggesting that it could facilitate collusion amongst




1 The facts in Trinko are also completely different than here. In Trinko, Verizon was required

under a separate statute to offer its rivals access to unbundled elements of its network that existed
“only deep within the bowels of Verizon” and not offered to consumers. 540 U.S. at 410. This
separate requirement to share with rivals did not create a duty to deal under the antitrust laws. Id.
                                                  15
      Case 1:24-cv-03973-AS           Document 308         Filed 10/16/24      Page 22 of 37




competitors, and that if “firms [must] share the source of their advantage,” they have no

“incentive . . . to invest.” MTD at 8–9. But allowing artists to hire the promoter of their choice to

negotiate amphitheater access for them would not raise these concerns. Artists and amphitheaters

have competing financial interests when negotiating the terms of access and use of an

amphitheater. If Defendants’ large amphitheaters were open to any artist regardless of promoter,

there would be more competition, not less, among promoters for artists’ business.

       Nor does the Complaint suggest that the Court must take on a future “central plann[ing]”

role by “setting the prices and terms of dealing.” MTD 9 (quoting Trinko, 540 U.S. at 408).

These hyperbolic claims are both premature and incorrect. Cf. Google Play, 2024 WL 4438249,

at *8 (rejecting argument that refusal-to-deal framework applies based on “‘vibe’ in Trinko” and

noting that defendants’ “frequent mention of the case is simply a red herring”). Invoking

remedies that are not sought in the Complaint deflects from the issue at hand: whether the

Complaint sufficiently states a tying claim—which it does.

       B.      State Plaintiffs Have Standing to Seek Damages in the Fan-Facing Primary-
               Ticketing Market.

       State Plaintiffs’ injuries result from their residents purchasing directly from Defendants,

which under Supreme Court precedent gives them standing on the facts as alleged. State

Plaintiffs have also amply alleged the causal links between the challenged conduct and fans’

injuries in the fan-facing, primary-ticketing market. And even if fans are characterized as

“downstream” from Defendants’ anticompetitive conduct, their injuries are inextricably

intertwined with that conduct. The nature of that conduct makes State Plaintiffs the efficient

enforcers of damages claims; indeed, they are likely the only potential plaintiffs with the

incentives and abilities to vindicate the public interest in seeking redress for past antitrust harms.




                                                  16
      Case 1:24-cv-03973-AS           Document 308        Filed 10/16/24       Page 23 of 37




               1.      Plaintiffs’ Direct Purchases from the Violator Establish Their Standing.

       State Plaintiffs have standing in a parens patriae capacity (i.e., on their residents’ behalf),

because, as Defendants concede, consumers are active participants in the fan-facing primary

ticketing market, as they transact directly with Defendants. See MTD 20; Compl. ¶¶ 139–154.

This effectively ends the standing inquiry under Apple v. Pepper—one of the most important

cases on antitrust standing decided in the last decade, yet conspicuously absent from Defendants’

brief—because, as “the immediate buyers from the alleged antitrust violators,” consumers “may

maintain a suit against the antitrust violators.” 587 U.S. 273, 279 (2019) (consumers who bought

apps from Apple had standing to claim that Apple monopolized “the iPhone apps aftermarket”

and overcharged them for the apps, even though app developers set prices).

       Here, fans are “immediate buyers” who are forced to buy tickets only and directly from

Defendants. See, e.g., Compl. ¶¶ 143, 175–190. And the rationale animating Pepper applies: (1)

by transacting directly with Defendants, fans are direct purchasers, Ill. Brick Co. v. Illinois, 431

U.S. 720 (1977); (2) standing for immediate buyers is essential to avoid allowing Defendants to

“gerrymander out of this and similar lawsuits” by coercing others into “setting the price” at a

manner and level that allows Defendants to reap monopoly profits at fans’ expense; and (3) a

contrary rule would provide a roadmap for Defendants to strategically structure transactions to

avoid antitrust enforcement—indeed, Defendants have already pointed the finger at everyone

else in the industry (e.g., MTD 1). Pepper, 587 U.S. at 281–88.

       Since Pepper, courts have held that consumers may sue sellers for anticompetitive

conduct that results in higher prices. For example, consumers could sue Amazon, alleging

supracompetitive pricing of eBooks, even though publishers indisputably play a large role in

setting eBook prices. In re Amazon.com, Inc. eBook Antitrust Litig., 2023 WL6006525, at *13–

14 (S.D.N.Y. July 31, 2023). Likewise, ticket purchasers have standing even if Defendants do not
                                                 17
      Case 1:24-cv-03973-AS            Document 308          Filed 10/16/24       Page 24 of 37




alone set ticket prices or fees. Pepper’s rationale is even stronger here because Defendants are

significantly more involved in setting fees and prices than Apple was. Compl. ¶¶ 44–45, 142.

                    2. State Plaintiffs Have More than Adequately Pled Causation.

        After Pepper, plaintiffs who transact directly with the violator demonstrate antitrust

injury without needing to articulate a path of direct causation, or that, in the alternative, their

harms are “inextricably intertwined” with the reduction of competition. But even assuming they

still must, the Complaint makes clear how fans’ injuries (i.e., the supracompetitive amounts they

are forced to pay) are directly linked to Defendants’ anticompetitive conduct in the promotions

and venue-facing markets. See Compl. ¶¶ 38, 44, 139–158, 175–190, 227.

        Plaintiffs establish antitrust injury if theirs is a “direct result of the defendants’

anticompetitive conduct.” Eastman Kodak Co. v. Henry Bath LLC, 936 F.3d 86, 96 (2d Cir.

2019). “[I]t is not the status as a consumer or competitor that confers antitrust standing, but the

relationship between the defendant’s alleged unlawful conduct and the resulting harm to the

plaintiff.” Am. Ad Mgmt., Inc. v. Gen. Tel. Co. of Cal., 190 F.3d 1051, 1058 (9th Cir 1999)

(reversing summary judgment grant). Causation is fundamentally a fact question, so Defendants’

disagreement with how State Plaintiffs assess the causal links is reserved for summary judgment

or trial. See Anderson News, L.L.C. v. Am. Media, Inc., 680 F.3d 162, 185 (2d Cir. 2012).

        American Ad Management, cited by Defendants, is rare in its detailed analysis of how a

plaintiff identifies antitrust injury, and illustrates exactly why State Plaintiffs are so injured,

consistent with the general approach in this Circuit, see, e.g., In re Keurig Mountain Single-Serve

Coffee Antitrust Litig., 383 F. Supp. 3d 187, 220 (S.D.N.Y. 2019). First, Defendants have not

challenged whether, if true, the conduct underlying State Plaintiffs’ damages claims would

violate the antitrust laws. See Am. Ad Mgmt., 190 F.3d at 1055–56. Second, fans “don’t stand[] to

gain” from Defendants’ conduct. Id. at 1056. Third, consumers do not just happen to pay more
                                                   18
      Case 1:24-cv-03973-AS           Document 308        Filed 10/16/24       Page 25 of 37




money for tickets than they should. Rather, they essentially fund Defendants’ exclusive contracts,

restarting ad infinitum the anticompetitive cycle, Compl. ¶¶ 56, 98, 139–154, 175–190, and their

injury thus “flows from that which makes unlawful [Defendants’] conduct.” Am. Ad Mgmt., 190

F.3d at 1055. Fourth, the injury is not from “increased competition or lower (but non-predatory)

prices.” Id at 1057. Instead, it flows directly from increased fees and ticket prices resulting from

Defendants’ exclusive ticketing contracts with large upfront payments, backed by threats and

potential retaliation, leaving fans nowhere to turn. Compl. ¶¶ 142–158, 223. Defendants have

deprived fans of “open venues” where “it would be ‘easy to find & purchase tickets anywhere

. . .’ and fans could find ‘competitively priced tickets across various touch points.’” Id. ¶¶ 105,

107. Finally, Defendants have restrained non-price competition with their restrictive refund and

insurance policies. Id. ¶ 143. Thus, contrary to Defendants’ contention, MTD 20, Defendants

have restrained price competition in the fan-facing market.

       Defendants’ other cited cases are likewise inapposite. Plaintiffs in In re Aluminum

Warehousing Antitrust Litigation did not transact with the defendants, agreed they were not

participants in any market where defendants operated, and were irrelevant to defendants’ scheme

because the alleged anticompetitive acts “did not need or use injury to the consumers.” 833 F.3d

151, 162 (2d Cir. 2016). Consumers here directly purchased, and thus actively participate, in the

fan-facing market, Compl. ¶¶ 18, 44, 108, 142–143, 163, 175–190, and Defendants need

consumers to buy tickets and bankroll their monopoly maintenance. Id. ¶¶ 139–154, 175–190.

Fans’ injuries are not a “purely incidental byproduct” of Defendants’ exclusionary conduct,

Aluminum Warehousing, 833 F.3d at 162, or indirect results of general price increases, Ocean

View Cap., Inc. v. Sumitomo Corp. of Am., 1999 WL 1201701 (S.D.N.Y. Dec. 15, 1999), but

rather the crux of Defendants’ anticompetitive scheme.



                                                 19
      Case 1:24-cv-03973-AS          Document 308         Filed 10/16/24      Page 26 of 37




       The causation that State Plaintiffs detail distinguishes their allegations from cases like

Gatt, brought by a distributor cut out of a bid-rigging arrangement against remaining

participants. Gatt Commc’ns, Inc. v. PMC Assocs., L.L.C., 711 F.3d 68 (2d Cir. 2013). When, as

in Gatt, a competitor is “injured” because of an antitrust violation, but customers ultimately bear

the supracompetitive prices, that competitor has not suffered “antitrust injury.” See also Daniel v.

Am. Bd. of Emergency Med., 428 F.3d 408 (2d Cir. 2005). Competition is not what these

competitors want; they want a greater share of the market, and may even want it at

supracompetitive prices. Accord Assoc. Gen Contractors of Calif., Inc. v. Calif. State Council of

Carpenters, 459 U.S. 519, 539 (1983) (“AGC”). It is consumers who pay more due to the alleged

reduction in competition who are injured in a way the antitrust laws were meant to prevent.

                   3. Even If Consumers’ Injuries Are Downstream from Defendants’
                      Anticompetitive Conduct, They Are Inextricably Intertwined with It.

       In the alternative, State Plaintiffs have adequately pled that consumers’ injuries are

inextricably intertwined with Defendants’ unlawful anticompetitive conduct under Blue Shield of

Virginia v. McCready, 457 U.S. 465, 479 (1982) (plaintiff had standing because she “bore Blue

Shield’s sanction in the form of an increase in the net cost of her psychologist’s services”). See

also In re DDAVP Direct Purchaser Antitrust Litig., 585 F.3d 677, 688 (2d Cir. 2009) (injury to

direct purchasers “inextricably intertwined” with alleged monopolist’s “exclusionary scheme” to

prevent generic drug competition, leading to purchasers paying overcharges).

       Critical to McCready’s holding was that the plaintiff’s injury was “clearly foreseeable” to

the violators and “a necessary step in effecting the [conspiracy’s] ends.” 457 U.S. at 479; see also

Davitashvili v. Grubhub Inc., 2022 WL 958051, at *11 (S.D.N.Y. Mar. 30, 2022). More recently,

consumers challenged Grubhub and other food delivery platforms’ policies that contractually

prohibited restaurants from charging less in “direct markets” (e.g., to dine-in patrons). Grubhub,


                                                 20
      Case 1:24-cv-03973-AS           Document 308        Filed 10/16/24      Page 27 of 37




2022 WL 958051, at *1. Judge Kaplan rejected defendants’ argument that plaintiffs could not

trace their overpayment in direct markets to the contracts. Even though the platforms negotiated

the provisions with restaurants (not consumers), and reduced competition in the upstream

market, the clauses were “designed to restrict competition that could result from restaurants

offering lower prices in the direct markets,” and the diners paid the overcharges. Id. at *12.

       The dynamic here is the same. Defendants’ exclusive agreements, backed by threats and

retaliation, have the purpose and effect of restricting competition. Compl. ¶¶ 91, 98, 152–154.

The restriction on fan choice is not just “clearly foreseeable,” McCready, 457 U.S. at 479;

excluding competing ticketers from supplying in the fan-facing market is the entire point. And

Defendants induce entry into exclusive agreements by making large upfront payments to venues

and guarantees to artists, a “necessary step in” maintaining their ticketing monopoly. Id.; see,

e.g., Compl. ¶¶ 37, 41, 64, 69. Without them, fans could discipline supracompetitive ticket costs

by switching to cheaper ticketing options. Compl. ¶ 143.

       Defendants erroneously claim that State Plaintiffs lack standing because there are no

allegations that Defendants “used consumers as a means to injure competitors or other

participants in the various alleged markets.” MTD 21. First, under McCready, it is not only when

a monopolist “uses” the plaintiff to injure a competitor that an injury is “inextricably

intertwined,” but also when the monopolist “corrupt[s] a separate market [in which a plaintiff is a

participant] in order to achieve its illegal ends.” Aluminum Warehousing, 833 F.3d at 161; see

also Harry v. Total Gas & Power N.A., Inc., 889 F.3d 104, 116 (2d Cir. 2018) (distinguishing

“use” from “corruption” scenarios). Here, consumers are the real-world users of concert tickets

who are forced to pay inflated prices because of Defendants’ “corruption” of the “separate

market.” See Aluminum Warehousing, 833 F.3d at 161; Compl. ¶¶ 139–158. Second, consumer



                                                 21
      Case 1:24-cv-03973-AS           Document 308         Filed 10/16/24       Page 28 of 37




overcharges procured by competition reduction is considered “use” of consumers; the Supreme

Court let consumers proceed on just such a theory in Pepper. 587 U.S. at 276 (Apple “used its

monopoly to overcharge consumers” for apps). Either way, when a monopolist harms a

competitor to extract monopoly rents from consumers, the latter suffer antitrust injury. See, e.g.,

Keurig, 383 F. Supp. 3d at 221–22.

       Regardless, the Amended Complaint does allege Defendants used market power over

consumers’ purchases to injure competitors, just as Grubhub allegedly did by ensuring

consumers, via their patronage of restaurants, could not sponsor competition from its rivals.

Compare Grubhub, 2022 WL 958051 at *12 (“defendants allegedly force consumers to pay

supracompetitive prices in the direct markets as a ‘means to eliminate competition’ that would

threaten their business”), with Compl. ¶¶ 56, 146 (Live Nation uses flywheel to reinvest ticketing

revenue to fund its concert promotions business, which has “allowed [it] to limit venues’ and

artists’ options and impose supra-competitive fees on fans because there are no meaningful

alternatives”). At the end of the day, whether it is delivered pizza or concert tickets, who gets the

consumer’s purchase is what determines which competitors will survive, and which will not.

       Undoubtedly aware that all roads lead to standing for State Plaintiffs on their residents’

behalf, Defendants try to break the causal chain by offering alternate facts, which they cannot do

at the pleading stage. They contend that “Plaintiffs allege that . . . rival ticketers would pay less

money to venues in connection with their ticketing agreements” in a but-for world. MTD 22

(citing Compl. ¶¶ 146, 152). Neither cited paragraph of the Complaint says, assumes, or lends an

inference of anything like that. Moreover, to survive the pleadings, the Complaint need not allege

that rival ticketers would pay less money to venues; and to prevail at trial, Plaintiffs need not

prove it. A but-for world could see more money going to venues, MTD 23; but Defendants’



                                                  22
      Case 1:24-cv-03973-AS           Document 308         Filed 10/16/24       Page 29 of 37




profits on the back end would decrease as competition increased and ticketing fees moved closer

to the “cost of providing ticketing services.” Compl. ¶¶ 44, 146, 154.

       As for Defendants’ contention that Plaintiffs must be assuming that “in a world in which

their marginal costs went down, venues would respond by gratuitously reducing prices for

consumers rather than pocketing the incremental profit,” MTD 22, this construction is not only

directly at odds with the pleadings; it is also simply wrong. The Complaint and economic

intuition support the axiom that competition is best: venues may want to reduce overall costs of

attendance so they can compete against other venues, and venues may sponsor rival ticketers in

hopes of getting better overall offerings. See, e.g., Compl. ¶¶ 25, 150–51.

                   4. Plaintiffs Are Not Just Efficient Enforcers, But Likely the Only Ones
                      Positioned to Obtain Redress for Past Overcharge Injuries.

       Finally, State Plaintiffs are “efficient enforcers” in raising federal damages claims. In this

Circuit, courts consider four factors: (1) the directness of the asserted injury; (2) the existence of

an identifiable class of persons whose self-interest would normally motivate them to vindicate

the public interest in antitrust enforcement; (3) the speculativeness of the alleged injury; and (4)

avoiding duplicative recoveries. In re Platinum and Palladium Antitrust Litig., 61 F.4th 242, 259

(2d Cir. 2023); see also AGC, 459 U.S. 519. Although “a court need not find in favor of the

plaintiff[s] on each factor,” Am. Ad Mgt., 190 F.3d at 1055, the State Plaintiffs, acting in their

parens patriae capacities, easily satisfy all three factors at issue (Defendants do not contest the

fourth). That is true even without the presumption that, representing consumers, State Plaintiffs

are the efficient enforcers. See Serpa Corp. v. McWane, Inc., 199 F.3d 6, 10 (1st Cir. 1999).

       The Second Circuit analyzes the first efficient-enforcer factor, the “directness of the

asserted injury,” under the principles of proximate causation, with the inquiry centering around

how close the harm is in the chain of causation. See In re Platinum, 61 F.4th at 259; DDAVP, 585


                                                  23
      Case 1:24-cv-03973-AS           Document 308         Filed 10/16/24       Page 30 of 37




F.3d at 688 (injury sufficiently direct where “harming competitors was simply a means for the

defendants to charge the plaintiffs higher prices”). As discussed above, Plaintiffs have alleged

that Defendants have monopolized the market for the provision of primary concert ticketing

offerings to fans at major concert venues through several types of illegal conduct, resulting in

supracompetitive fees and ticket prices. See, e.g., Compl. ¶¶ 142–144, 146, 151, 156, 158, 224–

232. The injury flows directly to fans. See Pepper, 587 U.S. at 288.

       No other identifiable classes of persons are similarly incentivized or able to seek

damages, because Live Nation has intentionally created a system that disincentivizes other

parties from acting as antitrust enforcers; thus State Plaintiffs also satisfy the second factor.2

Venues are disincentivized from suing because they have to deal with Live Nation, promoters

need to work with Live Nation to co-promote and fear venues not working with them, and artists

lack the incentive because they need touring locations. Compl. ¶¶ 19–36, 69, 88–98, 144–154,

193–194. Moreover, they would be seeking lost profits, not overcharges, and “[d]enying the

plaintiffs a remedy in favor of a suit by competitors would thus be likely to leave a significant

antitrust violation undetected or unremedied.” DDAVP, 585 F.3d at 689. And the United States

lacks authority comparable to that in 15 U.S.C. § 15c to seek damages on natural persons’ behalf.

       On this factor, Defendants cite Daniel, but its analysis supports standing here. In Daniel,

emergency room physicians lacked standing to challenge a conspiracy between a specialty

certification board and hospitals operating residency training programs to limit the output of




2
  For example, Defendants’ requirement of “mass arbitration” disincentivizes challenges by
consumers themselves. Cf. Heckman v. Live Nation Ent., 686 F. Supp. 3d 939, 952–53, 956–57,
962–66, 967–68 (D.C. Cal. 2023) (in putative class action raising some issues similar to those
raised in the Complaint, denying on procedural and substantive unconscionability grounds
Defendants’ motion to compel arbitration). Heckman is on appeal, and even if the Ninth Circuit
affirms, Defendants may ultimately be allowed to require some form of arbitration.
                                                  24
      Case 1:24-cv-03973-AS           Document 308        Filed 10/16/24      Page 31 of 37




emergency room physicians. 428 F.3d at 444. Unlike fans here (who are more like the patients),

the doctor plaintiffs were competitors with “no natural economic self-interest in reducing the cost

of emergency medical care to customers.” Id. Hospitals were a tougher call: they could be

victims paying higher prices, or beneficiaries, supplying residency programs, for the scheme. Id.

Likewise here, venues, artists, and rival promoters are victims Defendants have disincentivized

from suing in various ways, including by trying to coopt them. State Plaintiffs stand in the shoes

of the only customers in this industry who have overpaid, have an “undivided economic

interest,” and whose incentives for recovery are not impeded by lack of “sophistication” or

“resources necessary to pursue an antitrust challenge” that render others poor bets to vindicate

the public interest in antitrust enforcement. Daniel, 428 F.3d at 444.

       Speculativeness, the third factor, goes to the calculation of damages, and Plaintiffs’

damages theory is intuitive and straightforward. See Gelboim v. Bank of Am. Corp., 823 F.3d

759, 779 (2d Cir. 2016). Plaintiffs are not asking the Court to consider multiple layers of

complicit bad actors or speculate as to the amount of harm each defendant caused. Defendants do

not seriously engage on this factor, other than to recycle the same unavailing arguments that

consumers’ alleged injuries are “speculative” and “wholly unconnected to the competitive harms

that Plaintiffs’ allege.” MTD 24. That argument not only conflates the first and third factors of

the efficient enforcer analysis, but more important, ignores Plaintiffs’ role as direct purchasers

and the interconnectedness of the harm across the industry. See Compl. ¶¶ 139–158, 175–190.

                                          CONCLUSION

       The Court should deny Defendants’ motion in its entirety.3

3 Plaintiffs are mindful that the Court invited Defendants to submit a letter previewing their bases

for dismissal. See ECF 180. Defendants’ letter did not identify some of the specific arguments
that they now advance in their motion (e.g., seeking to add new elements to a cognizable tying
claim). See id. Thus, to the extent the Court is inclined to grant the motion to dismiss in whole or
in part, Plaintiffs respectfully request the opportunity to amend.
                                                 25
Case 1:24-cv-03973-AS   Document 308       Filed 10/16/24     Page 32 of 37




                        Dated: October 16, 2024


                        /s/ Bonny Sweeney
                        BONNY SWEENEY
                         Lead Trial Counsel
                        ARIANNA MARKEL

                        United States Department of Justice
                        Antitrust Division
                        450 Fifth Street N.W., Suite 4000
                        Washington, DC 20530
                        Telephone: (202) 725-0165
                        Facsimile: (202) 514-7308
                        Bonny.Sweeney@usdoj.gov
                        Arianna.Markel@usdoj.gov

                        Attorneys for Plaintiff United States of America

                        /s/ Adam Gitlin
                        ADAM GITLIN (admitted pro hac vice)
                          Chief, Antitrust and Nonprofit Enforcement Section
                        COLE NIGGEMAN (admitted pro hac vice)

                        Office of the Attorney General for the District of Columbia
                        400 6th Street NW, 10th Floor
                        Washington, DC 20001
                        Adam.Gitlin@dc.gov
                        Cole.Niggeman@dc.gov

                        Attorneys for Plaintiff District of Columbia




                                  26
     Case 1:24-cv-03973-AS          Document 308     Filed 10/16/24      Page 33 of 37




/s/ Robert A. Bernheim                         /s/ Kim Carlson McGee
Robert A. Bernheim (admitted pro hac vice)     Kim Carlson McGee (admitted pro hac vice)
Office of the Arizona Attorney General         Assistant Attorney General
Consumer Protection & Advocacy Section         Office of the Attorney General of
2005 N. Central Avenue                         Connecticut
Phoenix, AZ 85004                              165 Capitol Avenue
Telephone: (602) 542-3725                      Hartford, CT 06106
Fax: (602) 542-4377                            Telephone: 860-808-5030
Robert.Bernheim@azag.gov                       Email: kim.mcgee@ct.gov
Attorney for Plaintiff State of Arizona        Attorney for Plaintiff State of Connecticut

/s/ Amanda J. Wentz                            /s/ Lizabeth A. Brady
Amanda J. Wentz (admitted pro hac vice)        Lizabeth A. Brady
Assistant Attorney General                     Director, Antitrust Division
Arkansas Attorney General's Office             Liz.Brady@myfloridalegal.com
323 Center Street, Suite 200                   Florida Office of the Attorney General
Little Rock, AR 72201                          PL-01 The Capitol
Phone: (501) 682-1178                          Tallahassee, FL 32399-1050
Fax: (501) 682-8118                            850-414-3300
Email: amanda.wentz@arkansasag.gov             Attorney for Plaintiff State of Florida
Attorney for Plaintiff State of Arkansas
                                               /s/ Richard S. Schultz
/s/ Paula Lauren Gibson                        Richard S. Schultz (admitted pro hac vice)
Paula Lauren Gibson (admitted Pro Hac Vice)    Assistant Attorney General
Deputy Attorney General                        Office of the Illinois Attorney General
(CA Bar No. 100780)                            Antitrust Bureau
Office of the Attorney General                 115 S. LaSalle Street, Floor 23
California Department of Justice               Chicago, Illinois 60603
300 South Spring Street, Suite 1702            (872) 272-0996 cell phone
Los Angeles, CA 90013                          Richard.Schultz@ilag.gov
Tel: (213) 269-6040                            Attorney for Plaintiff State of Illinois
Email: paula.gibson@doj.ca.gov
Attorney for Plaintiff State of California     /s/ Jesse Moore
                                               Jesse Moore (pro hac vice forthcoming)
/s/ Conor J. May                               Deputy Attorney General
Conor J. May (admitted pro hac vice)           Jesse.Moore@atg.in.gov
Assistant Attorney General                     Office of the Indiana Attorney General
Antitrust Unit                                 302 W. Washington St., Fifth Floor
Colorado Department of Law                     Indianapolis, IN 46204
Conor.May@coag.gov                             Phone: 317-232-4956
1300 Broadway, 7th Floor                       Attorney for the Plaintiff State of Indiana
Denver, CO 80203
Telephone: (720) 508-6000
Attorney for Plaintiff State of Colorado




                                              27
     Case 1:24-cv-03973-AS          Document 308     Filed 10/16/24      Page 34 of 37




/s/ Noah Goerlitz                              /s/ Katherine W. Krems
Noah Goerlitz (admitted pro hac vice)          Katherine W. Krems (admitted pro hac vice)
Assistant Attorney General                     Assistant Attorney General, Antitrust
Office of the Iowa Attorney General            Division
1305 E. Walnut St.                             Office of the Massachusetts Attorney
Des Moines, IA 50319                           General
Tel: (515) 281-5164                            One Ashburton Place, 18th Floor
noah.goerlitz@ag.iowa.gov                      Boston, MA 02108
Attorney for Plaintiff State of Iowa           Katherine.Krems@mass.gov
                                               (617) 963-2189
/s/ Lynette R. Bakker                          Attorney for Plaintiff Commonwealth of
Lynette R. Bakker (admitted pro hac vice)      Massachusetts
First Assistant Attorney General
Antitrust & Business Organizations             /s/ LeAnn D. Scott
lynette.bakker@ag.ks.gov                       LeAnn D. Scott (admitted pro hac vice)
Kansas Office of Attorney General              Assistant Attorney General
120 S.W. 10th Avenue, 2nd Floor                Corporate Oversight Division
Topeka, KS 66612-1597                          Michigan Department of Attorney General
Phone: (785) 296-3751                          P.O. Box 30736
Attorney for Plaintiff State of Kansas         Lansing, MI 48909
                                               Tel: (517) 335-7632
/s/ Mario Guadamud                             Scottl21@michigan.gov
Mario Guadamud                                 Attorney for Plaintiff State of Michigan
Assistant Attorney General
Complex Litigation Section                     /s/ Zach Biesanz
Louisiana Office of Attorney General           Zach Biesanz
1885 North Third Street                        Senior Enforcement Counsel
Baton Rouge, LA 70802                          Antitrust Division
Phone: (225) 326-6400                          zach.biesanz@ag.state.mn.us
Fax: (225) 326-6498                            Office of the Minnesota Attorney General
GuadamudM@ag.louisiana.gov                     445 Minnesota Street, Suite 1400
Attorney for Plaintiff State of Louisiana      Saint Paul, MN 55101
                                               Phone: (651) 757-1257
/s/ Schonette J. Walker                        Attorney for Plaintiff State of Minnesota
Schonette J. Walker (admitted pro hac vice)
Assistant Attorney General                     /s/ Gerald L. Kucia
Chief, Antitrust Division                      Gerald L. Kucia (admitted pro hac vice)
swalker@oag.state.md.us                        Special Assistant Attorney General
200 St. Paul Place, 19th floor                 Gerald.Kucia@ago.ms.gov.
Baltimore, Maryland 21202                      Mississippi Office of Attorney General
(410) 576-6470                                 Post Office Box 220
Attorney for Plaintiff State of Maryland       Jackson, Mississippi 39205
                                               Phone: (601) 359-4223
                                               Attorney for Plaintiff State of Mississippi




                                              28
     Case 1:24-cv-03973-AS        Document 308         Filed 10/16/24      Page 35 of 37




/s/ Justin C. McCully                            /s/ Jeremy R. Kasha
Justin C. McCully (admitted pro hac vice)        Jeremy R. Kasha
Colin P. Snider (admitted pro hac vice)          Assistant Attorney General
Assistant Attorney General                       Jeremy.Kasha@ag.ny.gov
Consumer Protection Bureau                       New York State Office of the Attorney
Office of the Nebraska Attorney General          General
2115 State Capitol                               28 Liberty Street
Lincoln, NE 68509                                New York, NY 10005
Tel: (402) 471-9305                              (212) 416-8262
Email: justin.mccully@nebraska.gov               Attorney for Plaintiff State of New York
Attorneys for Plaintiff State of Nebraska
                                                 /s/ Jeff Dan Herrera
/s/ Lucas J. Tucker                              Jeff Dan Herrera (pro hac vice forthcoming)
Lucas J. Tucker (admitted pro hac vice)          Assistant Attorney General
Senior Deputy Attorney General                   Consumer Protection Division
Office of the Nevada Attorney General            JHerrera@nmdoj.gov
Bureau of Consumer Protection                    New Mexico Department of Justice
100 N. Carson St.                                408 Galisteo St.
Carson City, NV 89701                            Santa Fe, NM 87501
Email: ltucker@ag.nv.gov                         Phone: (505) 490-4878
Attorney for Plaintiff State of Nevada           Attorney for Plaintiff State of New Mexico

/s/ Zachary Frish                                /s/ Sarah G. Boyce
Zachary A. Frish (admitted pro hac vice)         Sarah G. Boyce (admitted pro hac vice)
Assistant Attorney General                       Deputy Attorney General & General Counsel
Consumer Protection & Antitrust Bureau           SBoyce@ncdoj.gov
New Hampshire Attorney General’s Office          North Carolina Department of Justice
Department of Justice                            Post Office Box 629
1 Granite Place South                            Raleigh, North Carolina 27602
Concord, NH 03301                                Phone: (919) 716-6000
(603) 271-2150                                   Facsimile: (919) 716-6050
zachary.a.frish@doj.nh.gov                       Attorney for Plaintiff State of North Carolina
Attorney for Plaintiff State of New Hampshire
                                                 /s/ Sarah Mader
/s/ Yale A. Leber                                Sarah Mader (Admitted pro hac vice)
Yale A. Leber (admitted pro hac vice)            Assistant Attorney General, Antitrust Section
Deputy Attorney General                          Sarah.Mader@OhioAGO.gov
New Jersey Office of the Attorney General        Office of the Ohio Attorney General
124 Halsey Street, 5 th Floor                    30 E. Broad St., 26th Floor
Newark, NJ 07101                                 Columbus, OH 43215
Phone: (973) 648-3070                            Telephone: (614) 466-4328
Yale.Leber@law.njoag.gov                         Attorney for Plaintiff State of Ohio
Attorney for Plaintiff State of New Jersey




                                                29
     Case 1:24-cv-03973-AS          Document 308      Filed 10/16/24      Page 36 of 37




/s/ Caleb J. Smith                              /s/ Danielle A. Robertson
Caleb J. Smith (admitted pro hac vice)          Danielle A. Robertson (admitted pro hac
Assistant Attorney General                      vice)
Consumer Protection Unit                        Assistant Attorney General
Office of the Oklahoma Attorney General         Office of the Attorney General of South
15 West 6th Street                              Carolina
Suite 1000                                      P.O. Box 11549
Tulsa, OK 74119                                 Columbia, South Carolina 29211
Telephone: 918-581-2230                         DaniRobertson@scag.gov
Email: caleb.smith@oag.ok.gov                   (803) 734-0274
Attorney for Plaintiff State of Oklahoma        Attorney for Plaintiff State of South Carolina

/s/ Tim Nord                                    /s/ Aaron Salberg
Tim Nord (admitted pro hac vice)                Aaron Salberg (admitted pro hac vice)
Special Counsel                                 Assistant Attorney General
Tim.D.Nord@doj.oregon.gov                       aaron.salberg@state.sd.us
Civil Enforcement Division                      1302 E. Hwy 14, Suite 1
Oregon Department of Justice                    Pierre SD 57501
1162 Court Street NE                            Attorney for Plaintiff State of South Dakota
Salem, Oregon 97301
Tel: (503) 934-4400                             /s/ Hamilton Millwee
Fax: (503) 378-5017                             Hamilton Millwee (admitted pro hac vice)
Attorney for Plaintiff State of Oregon          Assistant Attorney General
                                                Office of the Attorney General and Reporter
/s/ Joseph S. Betsko                            P.O. Box 20207
Joseph S. Betsko (admitted pro hac vice)        Nashville, TN 38202
Assistant Chief Deputy Attorney General         Telephone: 615.291.5922
Antitrust Section                               Email: Hamilton.Millwee@ag.tn.gov
jbetsko@attorneygeneral.gov                     Attorney for Plaintiff State of Tennessee
Pennsylvania Office of Attorney General
Strawberry Square, 14th Floor                   /s/ Diamante Smith
Harrisburg, PA 17120                            Diamante Smith (admitted pro hac vice)
Phone: (717) 787-4530                           Assistant Attorney General, Antitrust
Attorney for Plaintiff Commonwealth of          Division
Pennsylvania                                    Trevor Young (admitted pro hac vice)
                                                Deputy Chief, Antitrust Division
/s/ Paul T.J. Meosky                            Office of the Attorney General of Texas
Paul T.J. Meosky (admitted pro hac vice)        P.O. Box 12548
Special Assistant Attorney General              Austin, TX 78711-2548
150 South Main Street                           (512) 936-1674
Providence, RI 02903                            Attorney for Plaintiff State of Texas
(401) 274-4400, ext. 2064
(401) 222-2995 (Fax)
pmeosky@riag.ri.gov
Attorney for Plaintiff State of Rhode Island



                                               30
     Case 1:24-cv-03973-AS         Document 308        Filed 10/16/24      Page 37 of 37




/s/ Marie W.L. Martin                            /s/ Douglas L. Davis
Marie W.L. Martin (admitted pro hac vice)        Douglas L. Davis (admitted pro hac vice)
Deputy Division Director,                        Senior Assistant Attorney General
Antitrust & Data Privacy Division                Consumer Protection and Antitrust Section
mwmartin@agutah.gov                              West Virginia Office of Attorney General
Utah Office of Attorney General                  P.O. Box 1789
160 East 300 South, 5 th Floor                   Charleston, WV 25326
P.O. Box 140830                                  Phone: (304) 558-8986
Salt Lake City, UT 84114-0830                    Fax: (304) 558-0184
Tel: 801-366-0375                                douglas.l.davis@wvago.gov
Attorney for Plaintiff State of Utah             Attorney for Plaintiff State of West Virginia

/s/ Sarah L. J. Aceves                           /s/ Laura E. McFarlane
Sarah L. J. Aceves (pro hac vice forthcoming)    Laura E. McFarlane (admitted pro hac vice)
Assistant Attorney General                       Assistant Attorney General
Consumer Protection and Antitrust Unit           Wisconsin Department of Justice
sarah.aceves@vermont.gov                         Post Office Box 7857
Vermont Attorney General’s Office                Madison, WI 53707-7857
109 State Street                                 (608) 266-8911
Montpelier, VT 05609                             mcfarlanele@doj.state.wi.us
Phone: (802) 828-3170                            Attorney for Plaintiff State of Wisconsin
Attorney for Plaintiff State of Vermont
                                                 /s/ William T. Young
/s/ Tyler T. Henry                               William T. Young (admitted pro hac vice)
Tyler T. Henry (admitted pro hac vice)           Assistant Attorney General
Senior Assistant Attorney General                Wyoming Attorney General’s Office
Office of the Attorney General of Virginia       109 State Capitol
202 North 9th Street                             Cheyenne, WY 82002
Richmond, Virginia 23219                         (307) 777-7841
Telephone: (804) 786-2071                        william.young@wyo,gov
Facsimile: (804) 786-0122                        Attorney for the Plaintiff State of Wyoming
thenry@oag.state.va.us
Attorney for Plaintiff Commonwealth of
Virginia

/s/ Rachel A. Lumen
Rachel A. Lumen (admitted pro hac vice)
Assistant Attorney General, Antitrust
Division
Washington Office of the Attorney General
800 Fifth Avenue, Suite 2000
Seattle, WA 98104-3188
(206) 464-5343
Rachel.Lumen@atg.wa.gov
Attorney for Plaintiff State of Washington



                                                31
